            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA, et al. No. 1:24-cv-00710—WO-JLW

          Plaintiffs,
                                       DEFENDANT CAMDEN PROPERTY
v.                                     TRUST’S REPLY IN SUPPORT
                                       OF CAMDEN’S MOTION TO
REALPAGE, INC., et al.                 DISMISS PLAINTIFFS’
                                       AMENDED COMPLAINT
          Defendants.




 Case 1:24-cv-00710-WO-JLW   Document 147   Filed 06/26/25   Page 1 of 15
                            TABLE OF CONTENTS

I.     Plaintiffs Do Not Identify Camden Confidential Information
       Shared With Competitors................................... 2

II.    Plaintiffs Do Not Allege When Camden Transformed from
       Customer to Conspirator................................... 5

III. Plaintiffs Do Not Allege Camden Raised Prices............. 8

IV.    Camden Cannot Give Plaintiffs The Relief They Seek........ 9

CONCLUSION.................................................... 10




                                      i


     Case 1:24-cv-00710-WO-JLW   Document 147   Filed 06/26/25   Page 2 of 15
                       TABLE OF AUTHORITIES

Cases                                                              Page(s)



Dickson v. Microsoft Corp., 309 F.3d 193, 203 (4th
  Cir. 2002) .............................................. 5

Gibson v. MGM Resorts Int’l,
  No. 2:23-cv-001410-MMD-DJA, 2023 WL 7025996
  (D. Nev. Oct. 24, 2023) ................................. 7

Interstate Circuit, Inc. v. United States,
  306 U.S. 208 (1939) .................................. 6, 7

KBC Asset Mgmt. NV v. DXC Tech. Co.,
  19 F.4th 601 (4th Cir. 2021) ............................ 3




                                  ii


  Case 1:24-cv-00710-WO-JLW   Document 147   Filed 06/26/25   Page 3 of 15
    Plaintiffs         cannot     state    claims     against       Camden,       a

publicly-traded REIT. Unlike any of the other four remaining

customers, Camden discloses detailed information regarding

rent,    occupancy,     and     strategies   to     investors.      Plaintiffs

premise some or all of their case against Camden on four

paragraphs (AC ¶¶ 90-92, 94) suggesting that Camden provided

confidential Camden information to competitors in order to

raise prices and reduce output. But they do not actually

allege in those paragraphs what Camden information was non-

public. Without those allegations, there is no reason for

Camden to be in the case.

    The case against Camden also is deficient because Camden

began using revenue management software many years before any

alleged conspiracy. And Camden helped tenants during COVID,

keeping rents down. Blocked by these facts, Plaintiffs were

unable    to   make     necessary     allegations       regarding       Camden.

Plaintiffs do not allege any detail regarding when Camden

began violating the antitrust laws or how the communications

in the Camden paragraphs harmed competition.

    Plaintiffs’ meager allegations against Camden are not

surprising     given    that     Plaintiffs’      original     case    attacked



                                       1


  Case 1:24-cv-00710-WO-JLW       Document 147    Filed 06/26/25   Page 4 of 15
RealPage’s software. That theory strains plausibility, so

Plaintiffs filed an amended complaint adding a handful of

customers and communications. But Plaintiffs cannot push the

allegations against Camden over the plausibility threshold.

Group pleading of alleged plus factors, without specific

allegations against Camden, is not enough for a case against

Camden.

I.     Plaintiffs   Do   Not   Identify  Camden                    Confidential
       Information Shared With Competitors.

       Camden’s motion challenged Plaintiffs to identify Camden

confidential      information     disclosed      to    competitors       in   the

COVID-era emails. (Mot. at 12-15). Plaintiffs refused the

challenge.

       Plaintiffs do not identify any information in the Camden

paragraphs (AC ¶¶ 90-92, 94) that was competitively sensitive

for     a   publicly-traded      company.       Camden’s     motion      pointed

Plaintiffs to portions of Camden’s website showing Camden

disclosed the types of information in the emails to the

public. (Mot. at 5-8). Plaintiffs’ response (Opp. at 40-42)

says nothing except to claim there is a factual dispute.




                                      2


     Case 1:24-cv-00710-WO-JLW   Document 147     Filed 06/26/25    Page 5 of 15
       Plaintiffs are wrong. There is no dispute for three

reasons. First, nothing in Camden’s public disclosures1 is

necessary to see the problems with the claims against Camden.

Paragraphs 90-92 and 94 do not, on their face, identify any

Camden     confidential,         competitively       sensitive        information

shared by Camden. This is a pleading problem, not a factual

dispute. Second, considering Camden’s public disclosures does

not require the Court to wade into any factual disputes.

Plaintiffs      allege   Camden      is       publicly-traded        (AC   ¶   238),

meaning Camden must make extensive disclosures to investors.

The fact that Camden disclosed more granular information than

is     included    in    the     Complaint,       contradicts         Plaintiffs’

arguments that the COVID emails support an inference of an

agreement to exchange non-public information. Third, even if

the case moves forward as to Camden, Plaintiffs will have to

concede that Camden makes extensive public disclosures of




1 The Court can take judicial notice of Camden’s public
filings. KBC Asset Mgmt. NV v. DXC Tech. Co., 19 F.4th 601,
607 (4th Cir. 2021) (taking judicial notice in securities
case of SEC filings and other publicly available documents).
Again, however, it is not necessary because Plaintiffs do not
make any allegations that would need to be contradicted.

                                          3


     Case 1:24-cv-00710-WO-JLW     Document 147     Filed 06/26/25    Page 6 of 15
property      performance,      and    in     the   COVID     emails     provided

publicly available types of information.

      The opposition accuses Camden of mischaracterizing the

COVID email paragraphs. (Opp. at n. 11). Plaintiffs do not

explain this accusation——they simply use a compare signal to

instruct Camden to figure out the alleged mischaracterization

itself. Plaintiffs refuse to identify one word in paragraphs

90-92 or 94 identifying Camden confidential information.2

      Plaintiffs’      failure        makes     both     Claims      I    and       II

implausible as to Camden. It remains difficult to decipher

the difference between these theories, but it appears that

Claim II alleges an information-sharing agreement based on

the use of AIRM and exchange of confidential information (AC

¶ 263) outside of AIRM. Claim II appears to allege agreements

to “align prices” through a series of bilateral, vertical

licensing agreements. (AC ¶ 272).

      Claim    I   fails   as    to    Camden       because     there     are       no

allegations that Camden provided competitively sensitive data



2 The closest Plaintiffs come is when they cite examples of
communications involving “future pricing strategies.” (Opp.
at 12). Plaintiffs leave Camden to guess as to what strategies
they mean. Plaintiffs ignore that Camden publicly disclosed
information about pricing strategies. (Mot. at 6-8).

                                        4


    Case 1:24-cv-00710-WO-JLW    Document 147       Filed 06/26/25   Page 7 of 15
to competitors. Again, Plaintiffs ignore that Camden tells

the public about pricing, occupancy, and strategies on its

website, in SEC filings, and during earnings calls. Claim II

also fails as to Camden, even if Plaintiffs’ theory is that

every single company that used AIRM automatically violated

the Sherman Act. That would be an unfair theory, given that

Plaintiffs in Claim III allege that RealPage is a monopolist

and customers had few other choices besides using AIRM. It

also fails because Plaintiffs provide no plausible theory or

motivation as to why a publicly-traded company would join a

conspiracy to “align” pricing. And it also fails under Fourth

Circuit law for all the reasons set forth in the other briefs.

See Dickson v. Microsoft Corp., 309 F.3d 193, 203 (4th Cir. 2002).

II. Plaintiffs Do Not Allege When Camden Transformed from
    Customer to Conspirator.

     Camden’s motion to dismiss faulted Plaintiffs for

refusing   to     identify    how    and    when   Camden      joined    the

conspiracy. Plaintiffs again do not respond. Their sections

on Camden (only pages 40-42 and 68) are silent on this point.

Plaintiffs nevertheless continue to emphasize the importance

of the timing of the agreement. Plaintiffs argue that “[e]ach

landlord   that    agrees     to    share   its    data   with     RealPage


                                     5


  Case 1:24-cv-00710-WO-JLW    Document 147   Filed 06/26/25   Page 8 of 15
explicitly or implicitly understands and agrees that this

arrangement involves other landlords likewise sharing their

data with RealPage.” (Opp. at 4). And, again focusing on

timing   of   customer   understanding,      Plaintiffs       allege   that

“[w]hen they decide to license AIRM or YieldStar, they know

that the software makes use of their shared data.” (Opp. at

5).

      Timing matters because of the Supreme Court’s decision

in Interstate Circuit, Inc. v. United States, 306 U.S. 208

(1939). Plaintiffs rely on this case for the theory that

competitors can violate the Sherman Act when they adopt

strategies knowing that their competitors will do the same.

In that case, the facts were straightforward beause the hub

of the conspiracy (a movie distributor) sent the same letter

(copying all the competitors in the address line) on the same

day to competitors (movie theater operators), and then the

competitors adopted the strategy dictated by the letter for

the upcoming season. Id. at 216-18. The terms and timing of,

and invitation to join, the hub-and-spoke conspiracy were

crystal clear.




                                   6


  Case 1:24-cv-00710-WO-JLW   Document 147   Filed 06/26/25   Page 9 of 15
       Plaintiffs have a problem fitting this theory on Camden

because they cannot allege that Camden chose RealPage for the

same    reasons    or   at    the     same    time    as    other     customers.

Plaintiffs cite Interstate Circuit to say that “simultaneous”

agreement is not required. (Opp. at 32). But Camden is not

quibbling about a slight timing gap, it is pointing to a gap

of   years,   maybe     a    decade    or    more.    And   more      recent    law

emphasizes the importance of alleging coordinated timing.

Gibson v. MGM Resorts Int’l, No. 2:23-cv-001410-MMD-DJA, 2023

WL 7025996, at *4 (D. Nev. Oct. 24, 2023) (Mot. at 11).

       The problem for Plaintiffs is they do not provide the

“when” for Camden——never identifying when Camden first agreed

to use RealPage RMS and what it intended and understood at

that time. Camden cannot defend against claims that it joined

an   unlawful     agreement     unless       the   complaint        provides    the

minimum level as to when and how it did so.

       This failure poses another plausibility problem unique

to Camden. As set forth above, Claims I and II are                              not

plausible as to Camden because it is a publicly-traded REIT

that is transparent about pricing and strategies. Claim II is




                                        7


 Case 1:24-cv-00710-WO-JLW      Document 147       Filed 06/26/25    Page 10 of 15
not plausible as to Camden because it is not alleged to have

even acted in parallel with competitors.

III. Plaintiffs Do Not Allege Camden Raised Prices.

       Camden’s motion to dismiss challenged Plaintiffs to

point to any support for their suggestion of some relationship

between Camden’s COVID emails and a harm to competition. (Mot.

at 15-16). Plaintiffs again stepped back. Plaintiffs do not

say anything about what Camden did during COVID (or any other

time) to raise prices above competitive levels or otherwise

harm competition. And Plaintiffs are of course aware that

Camden gave millions of dollars to tenants and froze rents

during    COVID,   which   allowed       it   to    compete         on   price   and

quality.

       Particularly glaring is Plaintiffs’ silence on the four

Camden paragraphs. (AC ¶¶ 90-92, 94). Plaintiffs had to allege

that the Camden communications caused Camden to raise prices

above    competitive   levels   or       otherwise        harm       competition.

Plaintiffs——again blocked by the fact of Camden’s public

disclosures and pro-tenant conduct during COVID——do not even

try.




                                     8


 Case 1:24-cv-00710-WO-JLW   Document 147          Filed 06/26/25    Page 11 of 15
    More broadly, the allegations of anticompetitive harm

are deficient for all the reasons set forth in the joint

customer brief. And the Antitrust Division’s decision not to

challenge RealPage’s acquisition of LRO further supports the

conclusion that using revenue management software is not

inherently anti-competitive.

IV. Camden Cannot Give Plaintiffs The Relief They Seek.

    Plaintiffs alleged that “[l]ess restrictive alternatives

are available to RealPage and the market,” citing recent

changes by RealPage to its software. (AC ¶ 269). Plaintiffs

do not, however, allege that Camden failed to accept these

changes.

    Nor have Plaintiffs asked Camden to stop analyzing its

data or making robust public disclosures, which would harm

competition     by   prohibiting    the      use   of   technology        that

facilitates reductions in price and compliance with fair

housing laws.

    Plaintiffs       demand   additional      changes      to    RealPage’s

software. Only RealPage can make those changes.




                                   9


 Case 1:24-cv-00710-WO-JLW    Document 147    Filed 06/26/25    Page 12 of 15
                              CONCLUSION

    For the foregoing reasons, the Amended Complaint should

be dismissed with prejudice as to Camden.



Dated: June 26, 2025         Respectfully submitted,

                             By: /s/    Caroline M. Gieser

                             Caroline M. Gieser (NC Bar No. 51610)
                             Shook, Hardy & Bacon LLP
                             1230 Peachtree St., Ste. 1200
                             Atlanta, GA 30309
                             Tel: (470) 867-6013
                             cgieser@shb.com

                             Local Civil Rule 83.1(d) Counsel for
                             Defendant Camden Property Trust

                             By: /s/ Ryan M. Sandrock

                             Ryan M. Sandrock (CA Bar No. 251781)
                             Appearing Under Rule 83.1(d)
                             Shook, Hardy & Bacon LLP
                             555 Mission Street, Suite 2300
                             San Francisco, CA 94105
                             Tel: (415) 544-1900
                             rsandrock@shb.com

                             Laurie A. Novion (MO Bar No. 50390)
                             Appearing Under Rule 83.1(d)
                             Shook, Hardy & Bacon LLP
                             2555 Grand Blvd.
                             Kansas City, MO 64108-2613
                             Tel: (816) 474-6550
                             lnovion@shb.com

                             Mehgan Keeley (IL Bar No. 6336155)
                             Maveric Searle (IL Bar No. 6336737)


                                   10


 Case 1:24-cv-00710-WO-JLW    Document 147   Filed 06/26/25   Page 13 of 15
                            Appearing Under Rule 83.1(d)
                            Shook, Hardy & Bacon LLP
                            111 S. Wacker Dr., Ste. 4700
                            Chicago, IL 60606
                            Tel: (312) 704-7700
                            mkeeley@shb.com
                            msearle@shb.com

                            Richard Powers (D.C. Bar 90016042)
                            Appearing Under Rule 83.1(d)
                            Kressin Powers LLC
                            400 7th Street NW, Suite 300
                            Washington, D.C. 20004
                            Tel: (202) 464-2905
                            richard@kressinpowers.com

                            Attorneys for Defendant Camden
                            Property Trust




                                  11


Case 1:24-cv-00710-WO-JLW    Document 147   Filed 06/26/25   Page 14 of 15
                   CERTIFICATE OF WORD COUNT

     I certify that this Camden Property Trust’s Reply in

Camden’s Motion to Dismiss (the “Reply”) complies with the

applicable word limits excluding the caption, signature line,

and any cover page or index in accordance with this Court’s

March 13, 2025 Order extending the word limitation, Dkt. 123,

and Local Civil Rule 7.3(d)(1).         This certification is made

in   accordance   with   Local     Civil     Rule    7.3(d)(1).          The

undersigned relied upon the word count feature provided by

word-processing software and the Reply contains approximately

1,695 words.

     This 26th day of June, 2025.

                             By: /s/   Caroline M. Gieser

                             Caroline M. Gieser (NC Bar No. 51610)
                             Shook, Hardy & Bacon LLP
                             1230 Peachtree St., Ste. 1200
                             Atlanta, GA 30309
                             Tel: (470) 867-6013
                             cgieser@shb.com




 Case 1:24-cv-00710-WO-JLW    Document 147   Filed 06/26/25   Page 15 of 15
